      Case 4:15-cv-00214-A Document 9 Filed 04/30/15   Page 1 of 1 PageID 54


                    IN THE UNITED STATES DISTRIC
                         NORTHERN DISTRICT OF TEX
                             FORT WORTH DIVISION

JOEL ALONSO, ET AL.,                    §
                                                         CLERK, U.S. msnUCT COUnT
                                                          By _ _
                                        §                          f) {"il ur:\
              Plaintiffs,               §
                                        §
VS.                                     §   NO. 4:15-CV-214-A
                                        §
ALLSTATE TEXAS LLOYDS,                  §
                                        §
              Defendant.                §


                            FINAL JUDGMENT OF REMAND

        Consistent with the order signed by the court in the above-

captioned action on the date of the signing of this final

judgment of remand,

        The court ORDERS, ADJUDGES, and DECREES that the above-

captioned action be, and is hereby, remanded to the state court

from which it was removed.

        SIGNED April 30, 2015.
